     20-10973-tmd Doc#13 Filed 12/12/20 Entered 12/12/20 23:37:44 Imaged Certificate of
                                     Notice Pg 1 of 5
Information to identify the case:
Debtor 1
                       April Marie Butler                                          Social Security number or ITIN   xxx−xx−2279
                                                                                   EIN _ _−_ _ _ _ _ _ _
                       First Name   Middle Name   Last Name

Debtor 2                                                                           Social Security number or ITIN _ _ _ _
                       First Name     Middle Name     Last Name
(Spouse, if filing)                                                                EIN _ _−_ _ _ _ _ _ _

United States Bankruptcy Court       Western District of Texas

Case number:          20−10973−tmd



Order of Discharge                                                                                                                12/15
IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

             April Marie Butler
                                                                           For the
                                                                           court:
             12/10/20
                                                                                          Barry D. Knight
                                                                                          Clerk of the Bankruptcy Court


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                            This order does not prevent debtors from paying
and it does not determine how much money, if                              any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                      debts according to the reaffirmation agreement.
                                                                          11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                 Most debts are discharged
attempt to collect a discharged debt from the                             Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                           personal liability for debts owed before the
or otherwise try to collect from the debtors                              debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                          Also, if this case began under a different chapter
in any attempt to collect the debt personally.                            of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                          to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                               are discharged.
However, a creditor with a lien may enforce a                             In a case involving community property: Special
claim against the debtors' property subject to that                       rules protect certain community property owned
lien unless the lien was avoided or eliminated.                           by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                             not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                        For more information, see page 2




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




Official Form 318                             Order of Discharge                           page 2
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                                           Notice Pg 3 of 5
                                                              United States Bankruptcy Court
                                                                Western District of Texas
In re:                                                                                                                 Case No. 20-10973-tmd
April Marie Butler                                                                                                     Chapter 7
       Debtor(s)
                                                     CERTIFICATE OF NOTICE
District/off: 0542-1                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Dec 10, 2020                                               Form ID: 318                                                              Total Noticed: 44
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 12, 2020:
Recip ID                 Recipient Name and Address
db                     + April Marie Butler, 1300 Crossing Place, Unit 2613B, Austin, TX 78741-1867
18074763                 Amex, P.O. Box 297871, Phoenix, AZ 85072
18074765               + BMO Harris Bank, Attn: Bankruptcy, Po Box 2035, Milwaukee, WI 53201-2035
18074777               + DSRM Nat Bank/Valero, Attn: Bankruptcy, Po Box 696000, San Antonio, TX 78269-6000
18074778                 Fifth Third Bank, Attn: Bankruptcy, Maildrop RCSB3E 1830 E Paris Ave SE, Grand Rapids, MI 49546
18074779               + First Nataional Bank/Legacy, Attn: Bankruptcy, Po Box 5097, Sioux Falls, SD 57117-5097
18074781               + First Savings Bank/Blaze, Attn: Bankruptcy, Po Box 5096, Sioux Falls, SD 57117-5096
18074783               + Kathleen Devine, 10921 Dedeke Dr., New Braunfels, TX 78132-4552
18074784               + Lyon Collection Services, 7924 West Sahara Ave., Las Vegas, NV 89117-1990
18074785                 Nationwide Credit Inc, 2800 University Ave. Suite #420, Cumming, IA 50061
18074790               + Radius Global Solutions LLC, P.O.Box 390905, Minneapolis, MN 55439-0905
18074791               + Spectrio, PO Box 890271, Charlotte, NC 28289-0271
18074797               + Touchstone Imaging Richardson, PO Box 102107, Atlanta, GA 30368-2107
18074798               + Travelers CL Remittance Center, PO Box 660317, Dallas, TX 75266-0317
18074799               + Travelers Woodhome Insurance, 66 Painters Mill Rd Suite 110, Owings Mills, MD 21117-3643

TOTAL: 15

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
tr                     + EDI: QJPLOWE.COM
                                                                                        Dec 11 2020 03:53:00      John Patrick Lowe, 2402 East Main Street,
                                                                                                                  Uvalde, TX 78801-4943
ust                    + Email/Text: ustpregion07.au.ecf@usdoj.gov
                                                                                        Dec 11 2020 03:41:00      United States Trustee - AU12, United States
                                                                                                                  Trustee, 903 San Jacinto Blvd, Suite 230, Austin,
                                                                                                                  TX 78701-2450
18074762               + EDI: AMEREXPR.COM
                                                                                        Dec 11 2020 03:53:00      Amex, Correspondence/Bankruptcy, Po Box
                                                                                                                  981540, El Paso, TX 79998-1540
18074764               + EDI: BANKAMER.COM
                                                                                        Dec 11 2020 03:53:00      Bank of America, 4909 Savarese Circle,
                                                                                                                  Fl1-908-01-50, Tampa, FL 33634-2413
18074766               + Email/Text: cms-bk@cms-collect.com
                                                                                        Dec 11 2020 03:41:00      Capital Management Services, 698 1/2 South
                                                                                                                  Ogden St, Buffalo, NY 14206-2317
18074768               + EDI: CAPITALONE.COM
                                                                                        Dec 11 2020 03:53:00      Capital One, AttnL: Bankruptcy, Po Box 30285,
                                                                                                                  Salt Lake City, UT 84130-0285
18074767               + EDI: CAPITALONE.COM
                                                                                        Dec 11 2020 03:53:00      Capital One, Attn: Bankruptcy, Po Box 30285,
                                                                                                                  Salt Lake City, UT 84130-0285
18074769               + EDI: CAPITALONE.COM
                                                                                        Dec 11 2020 03:53:00      Capital One Bank USA, NA, PO BOX 30281, Salt
                                                                                                                  Lake City, UT 84130-0281
18074771               + EDI: CITICORP.COM
                                                                                        Dec 11 2020 03:53:00      Citibank, Citicorp Credit Srvs/Centralized Bk dept,
                                                                                                                  Po Box 790034, St Louis, MO 63179-0034
18074772               + EDI: CITICORP.COM
                                                                                        Dec 11 2020 03:53:00      Citibank/Exxon Mobile, Attn: Bankruptcy, Po Box
                                                                                                                  790034, St Louis, MO 63179-0034
18074773               + Email/Text: defaultspecialty.us@bbva.com
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District/off: 0542-1                                              User: admin                                                             Page 2 of 3
Date Rcvd: Dec 10, 2020                                           Form ID: 318                                                          Total Noticed: 44
                                                                                   Dec 11 2020 03:42:00     Compass Bank, Attn: Bankruptcy, Po Box 10566,
                                                                                                            Birmingham, AL 35296-0001
18074775              + EDI: CCS.COM
                                                                                   Dec 11 2020 03:53:00     Credit Collection Services, P.O. Box 55126,
                                                                                                            Boston, MA 02205-5126
18074774              + EDI: CCS.COM
                                                                                   Dec 11 2020 03:53:00     Credit Collection Services, 725 Canton St,
                                                                                                            Norwood, MA 02062-2679
18074776              + EDI: DISCOVER.COM
                                                                                   Dec 11 2020 03:53:00     Discover Financial, Attn: Bankruptcy, Po Box
                                                                                                            3025, New Albany, OH 43054-3025
18074780              + EDI: AMINFOFP.COM
                                                                                   Dec 11 2020 03:53:00     First PREMIER Bank, Attn: Bankruptcy, Po Box
                                                                                                            5524, Sioux Falls, SD 57117-5524
18074782              + EDI: FSAE.COM
                                                                                   Dec 11 2020 03:53:00     Firstsource Advantage, LLC, 205 Bryant Woods
                                                                                                            South, Buffalo, NY 14228-3609
18074770                 EDI: JPMORGANCHASE
                                                                                   Dec 11 2020 03:53:00     Chase Card Services, Attn: Bankruptcy, Po Box
                                                                                                            15298, Wilmington, DE 19850
18074786                 Email/Text: NCI_bankonotify@ncirm.com
                                                                                   Dec 11 2020 03:40:00     Nationwide Credit Inc., P.O. Box 14581, Des
                                                                                                            Moines, IA 50306-3581
18074787                 Email/Text: Bankruptcy.Notices@pnc.com
                                                                                   Dec 11 2020 03:40:00     PNC Bank, Attn: Bankruptcy, Po Box 94982:
                                                                                                            Mailstop Br-Yb58-01-5, Cleveland, OH 44101
18074788                 Email/Text: Bankruptcy.Notices@pnc.com
                                                                                   Dec 11 2020 03:40:00     PNC Bank, P.O. Box 5570, Cleveland, OH
                                                                                                            44101-0570
18076619              + EDI: PRA.COM
                                                                                   Dec 11 2020 03:53:00     PRA Receivables Management, LLC, PO Box
                                                                                                            41021, Norfolk, VA 23541-1021
18074789              + Email/Text: brprocessor@pfccollects.com
                                                                                   Dec 11 2020 03:42:00     Professional Finance Co, P.O. Box 7059,
                                                                                                            Loveland, CO 80537-0059
18074792              + EDI: RMSC.COM
                                                                                   Dec 11 2020 03:53:00     Syncb/PPC, Attn: Bankruptcy, Po Box 965060,
                                                                                                            Orlando, FL 32896-5060
18074793              + EDI: RMSC.COM
                                                                                   Dec 11 2020 03:53:00     Synchrony Bank/Care Credit, Attn: Bankruptcy
                                                                                                            Dept, Po Box 965064, Orlando, FL 32896-5064
18074794              + EDI: RMSC.COM
                                                                                   Dec 11 2020 03:53:00     Synchrony Bank/Gap, Attn: Bankruptcy Dept, Po
                                                                                                            Box 965060, Orlando, FL 32896-5060
18074795              + EDI: LCITDAUTO
                                                                                   Dec 11 2020 03:53:00     Td Auto Finance, Attn: Bankruptcy, Po Box 9223,
                                                                                                            Farmington Hilss, MI 48333-9223
18074796              + Email/Text: marisa.sheppard@timepayment.com
                                                                                   Dec 11 2020 03:42:00     Timepayment Corp, LLC., Attn: Bankruptcy, 1600
                                                                                                            District Ave, Ste 200, Burlington, MA 01803-5233
18074800              + EDI: USBANKARS.COM
                                                                                   Dec 11 2020 03:53:00     U.S. Bancorp, Attn: Bankruptcy, 800 Nicollet
                                                                                                            Mall, Minneapolis, MN 55402-7014
18074801                 EDI: USBANKARS.COM
                                                                                   Dec 11 2020 03:53:00     US Bank/RMS CC, Attn: Bankruptcy, Po Box
                                                                                                            5229, Cincinnati, OH 45201

TOTAL: 29


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.
         20-10973-tmd Doc#13 Filed 12/12/20 Entered 12/12/20 23:37:44 Imaged Certificate of
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District/off: 0542-1                                             User: admin                                                            Page 3 of 3
Date Rcvd: Dec 10, 2020                                          Form ID: 318                                                         Total Noticed: 44

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 12, 2020                                       Signature:           /s/Joseph Speetjens




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 10, 2020 at the address(es) listed
below:
Name                            Email Address
John Patrick Lowe
                                pat.lowe.law@gmail.com plowe@ecf.axosfs.com

Nicholas M Wajda
                                on behalf of Debtor April Marie Butler nick@recoverylawgroup.com r47098@notify.bestcase.com

United States Trustee - AU12
                                ustpregion07.au.ecf@usdoj.gov


TOTAL: 3
